 Case 2:19-cv-09302-MCS-E Document 105 Filed 09/21/21 Page 1 of 10 Page ID #:1534




 1
 2
 3
 4
 5
 6
 7
                              UNITED STATES DISTRICT COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA
 9
10   HASMIK JASMINE CHINARYAN,                 CASE NO. 2:19-cv-9302 MCS (Ex)
     Individually and as Guardian ad Litem
11   for NEC, a Minor, and MARIANA
     MANUKYAN,
12                                                FINAL PRETRIAL CONFERENCE
              Plaintiffs,                         ORDER
13
     vs.
14
     CITY OF LOS ANGELES and LOS
15   ANGELES POLICE DEPARTMENT,
16            Defendants.
17
18         Following pretrial proceedings, pursuant to Federal Rule of Civil Procedure 16
19 and Local Rule 16, IT IS ORDERED:
20 1.      PARTIES AND PLEADINGS
21         The parties are:
22         Plaintiffs: Hasmik Jasmine Chinaryan, Individually and as Guardian ad Litem
23 for NEC, a Minor, and Mariana Manukyan
24         Defendants: City of Los Angeles and Los Angeles Police Department
25 (“LAPD”)
26      Each of these parties has been served and has appeared. All other Defendants
27 named in the pleadings and not identified in the preceding paragraph are now
28
                                              1
 Case 2:19-cv-09302-MCS-E Document 105 Filed 09/21/21 Page 2 of 10 Page ID #:1535




 1 dismissed or have been granted judgment in their favor through Defendants’ Motion
 2 for Summary Judgment or Adjudication (See Dkt. #77).
 3             The pleadings which raise the issues are:
 4             Plaintiffs’ First Complaint (Dkt. No. 41)
 5             Answer by Defendants to Plaintiffs’ First Amended Complaint (Dkt. No. 50)
 6 2.          JURISDICTION AND VENUE

 7             Federal jurisdiction and venue are invoked upon the following grounds:

 8 Plaintiffs assert claims pursuant to 42 U.S.C. § 1983 for violations of the rights of
 9 Plaintiffs under the United States Constitution. The Court has federal question
     jurisdiction over Plaintiffs’ § 1983 claims pursuant to 28 U.S.C. §§ 1331 and 1343.
10
               Plaintiffs’ claims are based on conduct and events that occurred within the
11
     geographical territory of the Central District of California and venue therefore lies in
12
     this district pursuant to 28 U.S.C. § 1391(b).
13
               The facts requisite to federal jurisdiction and venue in the Central District of
14
     California are admitted.
15
     3.        TRIAL ESTIMATE
16
               The parties estimate 3 to 4 trial days. 1
17
18
19
20
21
22
23
24
25
26
27        1
              The Court has advised the Parties that trial will last for three (3) days.
28
                                                      2
 Case 2:19-cv-09302-MCS-E Document 105 Filed 09/21/21 Page 3 of 10 Page ID #:1536




 1 4.      JURY TRIAL
 2         Both sides timely demanded jury. The trial is to be a jury trial. The parties will
 3 concurrently lodge: (a) proposed jury instructions as required by Local Rule 51-1,
 4 both agreed-upon and disputed instructions, (b) proposed verdict forms; and (c) any
 5 special questions requested to be asked on voir dire.
 6 5.    ADMITTED FACTS
 7         1. The LAPD officers, while conducting the traffic stop of Plaintiffs, acted
 8               within the course and scope of their employment.

 9         2. The LAPD officers who conducted the traffic stop of Plaintiffs acted under

10               color of state law.
     6.    UNDISPUTED FACTS, SUBJECT TO EVIDENTIARY OBJECTIONS
11
           None.
12
     7.    CLAIMS AND DEFENSES OF THE PARTIES
13
           A. PLAINTIFFS
14
           (a)      Plaintiffs’ claim:
15
           Plaintiffs are pursuing only their 42 U.S.C. § 1983 claim based on entity
16
     Monell liability against the City and the LAPD, namely Defendants’ policy, practice
17
     or custom regarding high-risk vehicle stops was the moving force that caused the
18
     deprivation of Plaintiffs’ rights under the Fourth Amendment.
19
           (b)      The elements required to establish Plaintiffs’ claim are:
20         1. The LAPD officers acted under color of law.
21         2. One or more plaintiffs was deprived of rights under the Fourth Amendment
22               of the United States Constitution when officers exceeding the scope of an
23               investigatory detention based on reasonable suspicion by unreasonably
24               compelling Plaintiff Chinaryan to lie prone on the street, by unreasonably
25               handcuffing and searching Plaintiffs, and by unreasonably pointing guns at
26               them.
27
28
                                                 3
 Case 2:19-cv-09302-MCS-E Document 105 Filed 09/21/21 Page 4 of 10 Page ID #:1537




 1            3. The officers acted pursuant to a policy, practice or custom of Defendants
 2                 that was so closely related to the constitutional deprivation to be the moving
 3                 force that caused the ultimate constitutional injuries.
 4 See Ninth Circuit Model Civil Jury Instructions Nos. 9.1, 9.5, 9.12, 9.16, 9.17 9.20,
 5 9.21, 9.22, and 9.25; Washington v. Lambert, 98 F.3d 1181, 1189 (9th Cir. 1996);
 6 Green v. City & Cty. of San Francisco, 751 F.3d 1039, 1042-44 (9th Cir. 2014).
 7      (c)           In Brief, the Key Evidence Plaintiff Relies On:
 8            1.      The parties stipulate that the officers acted under color of state law.
 9            2.      Body-worn and dash camera video recordings show the deprivations of
10 Plaintiffs’ Fourth-Amendment rights in that the officers exceeded the scope of a
11 Terry stop by pointing firearms at Plaintiffs, by making Plaintiff Chinaryan lie prone
12 in the street, by handcuffing Plaintiffs and by patting Plaintiffs down for weapons.
13            3.      The officers admit: 1) Plaintiffs were cooperative and took no action that
14 raised a reasonable possibility of danger or flight; 2) The officers had no information
15 that any Plaintiff was armed; 3) The stop did not closely follow a violent crime; and
16 4) the officers had no information that a crime that may involve violence was about
17 to occur.
18            4.      The Court has adjudicated that City policy was the moving force in the
19 interaction between the officers and Plaintiffs.
20            B.      DEFENDANTS
21                    (a)    Defendants’ claims and defenses:
22            Defendants agree that Plaintiffs are pursuing only their 42 U.S.C. § 1983 claim
23 based on entity Monell liability against the City and the LAPD, namely Defendants’
24 policy, practice or longstanding custom. However, Defendants contend that their
25 police officers’ actions were not based on a policy, practice, or procedure, but rather
26 based on the totality of the circumstances specific to this particular incident.
     Defendants also contend that Plaintiffs must prove that the proning-out of Plaintiff
27
28
                                                     4
 Case 2:19-cv-09302-MCS-E Document 105 Filed 09/21/21 Page 5 of 10 Page ID #:1538




 1 Chinaryan, the drawing of firearms, and the circumstances of Plaintiffs detention
 2 were unreasonable.
 3                (b) The elements required to establish Plaintiffs’ claim are:
 4               First, Plaintiffs must prove an underlying constitutional violation by an
           individual officer.
 5
           1.     The Defendants’ officers seized the plaintiff’s person;
 6
           2.     in seizing the plaintiff’s person, the Defendant Officers acted
 7
                  intentionally; and
 8
           3.     the seizure was unreasonable.
 9
                  Then, if and only if the Plaintiffs have proven that an individual officer
10         violated the Plainitffs’ constitutional rights, should they determine whether
11         there was a Monell violation, to wit:
           1.     The officers acted under color of state law;
12
           2.     The acts of the officers deprived the plaintiffs of their particular
13
                  rights under the laws of the United States and/or the United States
14
                  Constitution as explained in the following instructions;
15
           3.     The officers acted pursuant to an expressly adopted official policy
16
                  or a widespread or longstanding practice or custom of Defendants
17
                  City and Los Angeles Police Department; and
18
           4.     The Defendants’ official policy or widespread or longstanding practice
19
     or custom caused the deprivation of the plaintiffs’ rights by the officers; that is, the
20
     Los Angeles Police Department’s official policy or widespread or longstanding
21
     practice or custom is so closely related to the deprivation of the plaintiffs’ rights as to
22
     be the moving force that caused the ultimate injury
23
           See Ninth Circuit Model Civil Jury Instructions Nos. 9.20, 9.21and 9.25.
24
                  (c)    In Brief, the Key Evidence Defendants Rely On:
25
           1. The totality of the circumstances in this particular case, including the prior
26
     report of a stolen vehicle in the vicinity, which matched the description of the
27
     Plaintiffs’ vehicle, the prior evening LoJack hit near the location Plaintiffs’ vehicle
28
                                                  5
 Case 2:19-cv-09302-MCS-E Document 105 Filed 09/21/21 Page 6 of 10 Page ID #:1539




 1 was observed driving, and the MDC information that showed that the license plate
 2 did not belong to a Chevrolet Suburban, but rather to a Dodge Ram truck.
 3         2. The officers’ prior training and experience involving the inherent dangers of
 4 pulling over a suspected stolen vehicle – a felony crime – and their LAPD and POST
 5 training, which allow for “high risk” vehicle stops including the use of unholstered or
 6 drawn firearms at the ready, and the “proning-out” of suspects pending investigation.
 7         3. The fact that the firearms were never pointed at the bodies of the Plaintiffs,
 8 but rather held at a “low ready” position.
 9         4. The fact that the “search” of Plaintiffs for weapons was brief and lawful,
10 and that Plaintiff Chinaryan provided implied consent to retrieve her purse for
11 identification purposes.
12         AFFIRMATIVE DEFENSE 10:
13               (a) Tenth Affirmative Defense: Entity Immunity re: Punitive
14         Damages
15               (b) Elements and Summary of Key Evidence:
16                       Defendant City of Los Angeles and all Defendants sued in their
17                       official capacities are immune from the imposition of punitive
18                       damages. Based on the parties’ meet-and-confer, this affirmative
19                       defense is not in dispute as to the sole surviving Monell claim.
20 8.      ISSUES TO BE TRIED
21         In view of the elements required to establish the claims, the following issues
22 remain to be tried:
23         Plaintiffs’ Statement of Issues:
24         Whether the City’s policy, practice or custom authorizing high-risk vehicle
25 stop procedures, including forcing people to lie prone in the street, pointing firearms,
26 handcuffing and searching them for weapons while determining whether a vehicle is
27 stolen violated the Fourth Amendment where: 1) Plaintiffs were cooperative and took
   no action that raised a reasonable possibility of danger or flight; 2) The officers had
28
                                                6
 Case 2:19-cv-09302-MCS-E Document 105 Filed 09/21/21 Page 7 of 10 Page ID #:1540




 1 no information that any Plaintiff was armed; 3) The stop did not closely follow a
 2 violent crime; and 4) the officers had no information that a crime that may involve
 3 violence was about to occur.
 4       Defendants’ Statement of Issues:
 5        1. Whether any individual police officers of Defendants City of Los Angeles
 6 and LAPD violated Plaintiffs’ constitutional rights, and, if so:
 7      2. Whether the Defendants’ employee(s) violated Plaintiffs’ Fourth

 8 Amendment rights due to a policy, custom, or longstanding practice of Defendants
   City of Los Angeles and LAPD.
 9
   9.     DISCOVERY
10
          Fact discovery is complete. However, due to the COVID-19 and related
11
   calendar congestion, the expert depositions have yet to be taken: Plaintiffs’ police
12
   practices expert Jeffery Noble and Defendants’ police practices expert Ed Flosi. The
13
   parties intend to complete these depositions before trial.
14
   10. RULE 26(a)(3) DISCLOSURES: EXHIBITS
15
          The joint exhibit list of the parties has been filed under separate cover as
16
   required by Local Rule 16-6.1 (Dkt. No. 85).
17
   11. WITNESSES AND DEPOSITION DESIGNATIONS
18
          Witness lists of the parties have been filed with the Court as required by Local
19
   Rule 16-5 (Dkt. Nos. 81, 84). Only the witnesses identified in the lists will be
20
   permitted to testify (other than solely for impeachment).
21        Witness LAPD Sgt. Fred Cueto passed away in December 2020. The parties
22 intend to read designated passages from his deposition pursuant to Fed. R. Civ. P.
23 32(a)(4)(A). The parties agree that the jury should not be told why Sgt. Cueto is
24 unavailable to testify in person. The parties are meeting and conferring to identify
25 passages to be read to the jury, and to resolve the manner in which the reading should
26 take place. Unresolved objections to testimony offered by one party, if any, will be
27 provided to the Court in a joint document.
28
                                                7
  Case 2:19-cv-09302-MCS-E Document 105 Filed 09/21/21 Page 8 of 10 Page ID #:1541




 1 12.     LAW AND MOTION MATTERS
 2         Defendants filed one motion in limine on July 19, 2021 (Dkt. #82). Plaintiffs
 3 filed a brief opposition, contending that the motion violates the Court order that
 4 “Motions in limine should address specific issues.”
 5 13.     BIFURCATION / SEVERANCE OF ISSUES
 6         Defendants request bifurcation that the jury first find a constitutional
 7 deprivation, and if so, proceed to a finding of whether there was a Monell violation.
 8       Plaintiffs oppose bifurcation.
 9         Plaintiffs’ statement regarding bifurcation:
10         Defendants have not brought a motion to bifurcate. There is nothing to
11 bifurcate. There are no police officer, individual defendants. There is a Monell claim
12 against the entities and, if the jury finds a constitutional deprivation occurred, it must
13 determine compensatory or nominal damages. The entities are immune from punitive
14 damages.
15         Constitutional deprivations sometimes occur “not . . . as a result of actions of
16 the individual officers, but as a result of the collective inaction” of the entity. Fairley
17 v. Luman, 281 F.3d 913, 917 (9th Cir. 2002) (citing City of Canton v. Harris, 489
18 U.S. 378 (1989), for the proposition that a “city could be held independently liable
19 under § 1983 for failure to train its police officers even though no individual
20 defendants were sued”). Accordingly, once “a plaintiff establishes he suffered a
21 constitutional injury by the City, the fact that individual officers are exonerated is
22 immaterial to liability under § 1983,” id. & n.4, a common-sense rule dating back
23 thirty years. Hopkins v. Andaya, 958 F.2d 881, 888 (9th Cir. 1992) (“city might be
24 held liable for improper training or improper procedure even if [officer] is
25 exonerated”); accord Tsao v. Desert Palace, Inc., 698 F.3d 1128, 1142-43 (9th Cir.
26 2012) (Fairley “made clear that the rule applies ‘whether the officers are exonerated
27 on the basis of qualified immunity, because they were merely negligent, or for other
28 failure of proof.’”); Horton by Horton v. City of Santa Maria, 915 F.3d 592, 604 (9th
                                                8
 Case 2:19-cv-09302-MCS-E Document 105 Filed 09/21/21 Page 9 of 10 Page ID #:1542




 1 Cir. 2019) (jury could determine plaintiff “suffered a constitutional deprivation as a
 2 result . . . of officers’ adherence to departmental customs or practices.”)
 3         Other circuits follow the same rule. According to the Tenth Circuit:
 4         [S]ometimes the municipal policy devolves responsibility across
 5         multiple   officers.   In   those   situations,   the   policies   may   be
 6         unconstitutional precisely because they fail to ensure that any single
 7         officer is positioned to prevent the constitutional violation. Where the
 8         sum of multiple officers’ actions taken pursuant to municipal policy
 9         results in a constitutional violation, the municipality may be directly
10         liable. That is, the municipality may not escape liability by acting
11         through twenty hands rather than two.
12 Crowson v. Washington Cty., 983 F.3d 1191, 1166 (10th Cir. 2020) (citing Garcia v.
13 Salt Lake Cty., 768 F.2d 303, 310 (10th Cir.1985)); accord, Barnett v. MacArthur,
14 956 F.3d 1291, 1301-02 (11th Cir. 2020) (“[M]unicipal liability can exist if a jury
15 finds that a constitutional injury is due to a municipal policy, custom, or practice, but
16 also finds that no officer is individually liable for the violation. . . . This is not a
17 controversial concept, as many of our sister circuits have come to the same
18 conclusion.”); Speer v. City of Wynne, 276 F.3d 980, 985-86 (8th Cir. 2002)
19 (“[S]ituations may arise where the combined actions of multiple officials or
20 employees may give rise to a constitutional violation, supporting municipal liability,
21 but where no one individual’s actions are sufficient to establish personal liability for
22 the violation.”); Fagan v. City of Vineland, 22 F.3d 1283, 1292 (3d Cir. 1994) (en
23 banc) (“[A]n underlying constitutional tort can still exist even if no individual police
24 officer violated the Constitution.”); Barrett v. Orange Cty. Human Rights Comm’n,
25 194 F.3d 341, 350 (2d Cir. 1999) (“We agree with our sister circuits that under
26 Monell municipal liability for constitutional injuries may be found to exist even in the
27 absence of individual liability.”); Thomas v. Cook Cty. Sheriff’s Dep’t, 604 F.3d 293,
28
                                                9
 Case 2:19-cv-09302-MCS-E Document 105 Filed 09/21/21 Page 10 of 10 Page ID #:1543




 1 305 (7th Cir. 2010) (“[A] municipality can be held liable under Monell, even when its
 2 officers are not, unless such a finding would create an inconsistent verdict.”).
 3         On these grounds Plaintiffs oppose bifurcation.
 4         Defendants’ statement regarding bifurcation:
 5         Defendants contend that the jury must first find that an individual employee of
 6 the Defendant entity violated the Plaintiffs’ constitutional rights before it can find
 7 the entity Defendants liable. Even though the Court has already determined that, if
 8 such a theoretical constitutional violation has occurred, then the City’s policy,
 9 practice, or custom is the “moving force” behind such a theoretical violation, the jury
10 must still first decide if any such violation has occurred at all. Thus, in this highly
11 unusual circumstance, the trial should be bifurcated to (1) find whether or not any
12 individual violated the Plaintiffs constitutional rights, and then, if and only if such a
13 finding is made, (2) hear and determine what damages, if any, to award.
14
15 14.     The foregoing admissions having been made by the Parties, and the
16 Parties having specified the foregoing issues remaining to be litigated, this Final
17 Pretrial Conference Order shall supersede the pleadings and govern the course
18 of the trial of this cause, unless modified to prevent manifest injustice.
19
20 IT IS SO ORDERED.
21
     Dated: September 21, 2021
22
                                            MARK C. SCARSI
23                                          UNITED STATES DISTRICT JUDGE
24
25
26
27
28
                                                10
